Case 22-11068-JTD Doc5701 Filed 01/12/24 Page1of4

UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE

In re: FTX Trading Ltd., et al Chapter 11
Debtors Case No, 22-11068
(Jointly Administered}

NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111fa). Transferee

hereby gives evidence and notice pursuant to Rule 3001(e)(2) Fed. R. of Bankr. P., of the transfer,
other than for security, of the claim referenced in this evidence and notice.

Name of Transferor Name of Transferee
Fulcrum Credit Partners LLC Canyon NZ-DOF Investing, L.P.
c/o Canyon Capital Advisors LLC
111 Congress Avenue, Suite 2550 2000 Avenue of the Stars, 11" Floor
Austin, TX 78701-4044 Los Angeles, CA 90067
Attn: Amelia Harris Email: bankdebt@canyonpa rthers.coim: | egal@canyonpariners.com

Emait: = fulerumtrading@fulcrumtrading.com P: (310) 272-1452
{with copies to mhamilton@fuleruminvy.com, F: (310) 272-1317
tbennett@fulcruminv.com, and
aharris@fuleruminv,com)

P: (512) 473-2781

Debtor Case No. | Claim Identifier(s) Assigned Claim Amou int |
Claim(s) | FTX Trading Ltd. 22-11068 | Unique Customer Code/ | 15.9522% of the Claim
Schedule F#: 00405321 described on Schedule F

| declare under penalty of perjury that the information acoveed in this notice is true and correct to
the best of my knowledge and belief. “ies Pagnam
CPIM Sew os

By

Transf ee/Transferee’s Agent

Penalty for making a false statement/Fine of up to $500,000 or imprisonment for up to 5 years, or

both. 18 U.S.C. §§ 152 & 3571.

| DEADLINE TO OBJECT TO TRANSFER |

The alleged transferor of the claim is hereby notified that objections must be filed with the court
within twenty-one (21) days of the mailing of this notice. If no objection is timely received by the
court, the transferee will be substituted as the original claimant without further order of the court.

Date:

Clerk of the Court

Case 22-11068-JTD Doc5701 Filed 01/12/24 Page 2of4

EVIDENCE OF TRANSFER OF CLAIM AND WAIVER OF NOTICE
TO: Clerk, United States Bankruptcy Court, District of Delaware

FULCRUM CREDIT PARTNERS LLC, for good and valuable consideration, the receipt and sufficiency
of which are hereby acknowledged, and pursuant to the terms of a Transfer of Claim Agreement dated
of November 16, 2023, do hereby certify that they have unconditionally and irrevocably sold, transferred
and assigned to CANYON NZ-DOF INVESTING, L.P., and its successors and assigns, (“Buyer”),
15.9522% of Seller’s right, title and interest in to the claim(s) (“Claim”) of Seller, identified below,
against FTX TRADING LTD et al., in the United States Bankruptcy Court, District of Delaware, Case
No. 22-11068.

Debtor Case No. Claim Identifier(s) | Assigned Claim Amount

Claim(s) [PTX Trading Ltd. | 23-11068 | Unique Customer Code’ | 15.9522% of the Claim

Schedule F#: 00405321 described on Schedule F

Seller hereby waives any notice or hearing requirements imposed by Rule 3001 of the Federal Rules of
Bankruptcy Procedure and stipulates that an order may be entered recognizing the assignment evidenced
by this Evidence of Transfer of Claim as an unconditional assignment and Buyer hercin as the valid
owner of the Claim. You are hereby requested to make all future payments and distributions, and to give
all notices and other communications, in respect of the Claim to Buyer.
Case 22-11068-JTD Doc5701 Filed 01/12/24 Page 3of4

IN WITNESS WHEREOF, Seller and Buyer have executed this Evidence of Transfer of Claim as of the
dates below.

Buyer: Seller:
CANYON NZ-DOF INVESTING, L.P. FULCRUM CREDIT PARTNERS LLC
By: Canyon Capital Advisors LLC, as Investment Advisor
By: aa) > /
Name: a Jf , By, HamAt&al (Jan 11, 2024 19:55 GMT+4)
Tile “~ 4” § Name: Matthew Hamilton
Email: * 7 _ Title: Authorized Signatory -
Date: . © am Email: mhamilton@fulcruminv.com (cc
Autioreed Sgnotory Date: aharris@fulcruminv.com, tbennett@fulcruminv.com)

1/10/2024
Case 22-11068-JTD Doc5701 Filed 01/12/24 Page 4of4
DocuSign Envelope ID: D354197D-F754-4277-9D45-SC6D4FBDD025

EXHIBIT A!
Case No, Claim Identifier(s) aim ount

Debtor

Claim(s)

. 22-11068 Unique Customer Code / Schedule | $229,212.00
FTX Trading Ltd. F#: 00405321

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RA) ASS | BPR COAL PROCES Ld ey Was argo 8S bea aay s

